                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                               UNITED STATES DISTRICT COURT                              March 14, 2022
                                SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                    HOUSTON DIVISION


RIPPY OIL CO,                    §
                                 §
        Plaintiff,               §
                                 §
VS.                              §                   CIVIL ACTION NO. 4:22-CV-00276
                                 §
AIG SPECIALTY INSURANCE COMPANY, §
et al.,                          §
                                 §
        Defendants.              §

      ORDER GRANTING UNPPOSED MOTIONFOR EXTENSION OF TIME TO
                     FILE RESPONSIVE PLEADINGS

        Considering the unopposed motion for extension of time to file responsive pleadings by

defendant ACE American Insurance Company (Dkt. No. 6), the Court finds the motion is well-

taken and should be granted.

        It is, therefore, ORDERED that defendant ACE American Insurance Company is granted

up to and including February 10, 2022, to file its responsive pleadings to the plaintiff’s Original

Petition.

        It is so ORDERED.

       SIGNED on March 10, 2022, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge




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